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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 22-cr-15 (APM)
                                             :
THOMAS CALDWELL,                             :
                                             :
                      Defendant.             :

               GOVERNMENT’S MOTION TO CONTINUE SENTENCING

       On September 9, 2024, Defendant Thomas Caldwell moved this Court to reconsider its

Order denying his motion for a judgment of acquittal. On September 19, 2024, the government

filed its response. On December 18, 2024, the Court offered the government the opportunity to

provide supplemental briefing on the discrete question of whether there was sufficient “evidence

to satisfy Arthur Andersen’s requirement that the Government prove a nexus between the

obstructive conduct and a foreseeable particular federal proceeding to establish a conviction”

under 18 U.S.C. § 1512(c)(1). 22-cr-152, 12/18/24 Tr. (citing United States v. Young, 916 F.3d

368 (4th Cir. 2019) (quotation marks and internal citations omitted)).

       The government would appreciate the opportunity to supplement its briefing on this

discrete issue but does not believe it can complete its filing in time for meaningful review in

advance of the sentencing hearing, which is currently scheduled for Friday, December 20, 2024,

at 1:00 p.m. Accordingly, the government seeks a continuance of the sentencing hearing. The

government would request two to three weeks from today’s date to submit its supplemental

pleading.

       The United States has consulted with counsel for Defendant Caldwell, and counsel does

not object to continuing the sentencing hearing.
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       WHEREFORE, the United States respectfully requests that the Court continue sentencing

for several weeks to allow the government an opportunity to submit supplemental briefing, and for

Defendant Caldwell to reply, if he so desires.


                                             Respectfully submitted,

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